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                EXHIBIT 309
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1                 IN THE UNITED STATES DISTRICT COURT

2                FOR THE SOUTHERN DISTRICT OF NEW YORK

3      GOVERNMENT OF THE
       VIRGIN ISLANDS,
4
                         Plaintiff,
5
       v.                                     No. 22-cv-10904-JSR
6
       JP MORGAN CHASE BANK, N.A.,
7
                      Defendant.
8      ________________________________
       JPMORGAN CHASE BANK, N.A.,
9

10                  Third-Party Plaintiff,

11     v.

12     JAMES EDWARD STALEY,
       Third-Party Defendant.
13     __________________________________

14

15                THE ORAL DEPOSITION OF JOHN P. DE JONGH, JR.

16     was taken on the 30th day of May, 2023 at the Law

17     Offices of JOEL HOLT, 2132 Company Street,

18     Christiansted, St. Croix U.S. Virgin Islands, between

19     the hours of 9:02 a.m. and 4:46 p.m. pursuant to Notice

20     and Federal Rules of Civil Procedure.

21                        ____________________
                              Reported by:
22
                            DESIREE D. HILL
23                     Registered Merit Reporter
                       Hill's Reporting Services
24                          P.O. Box 307501
                      St. Thomas, Virgin Islands
25                           (340) 777-6466
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                  JOHN P. D JONGH, JR. -- DIRECT                         25


1            Q.      What is your professional background,

2      starting from now and then moving backwards.

3            A.      Starting from now?

4            Q.      Yeah.

5            A.      Yes.    When I left office in 2015, I

6      reestablished a consulting firm I had called Chilmark

7      Advisory, LLC.

8                    THE REPORTER:    Chilmark?

9                    THE WITNESS:    Chilmark Advisory,

10           LLC, C-H-I-L-M-A-R-K, LLC.       We used to

11           go to vacation in Martha's Vineyard and

12           I liked Chilmark General Stores.        I

13           named my company after that.       I've been

14           doing that for the last, well, since

15           January, February of 2015.

16                   Prior to that I was governor of the Virgin

17           Islands from January 1, 2007 to January 5th,

18           2015.

19                   Prior to that, I was unemployed.       I ran

20           for governor in 2002.      I lost.    That's when I

21           established the first version of Chilmark with a

22           friend of mine out of St. Lucia.        So I did

23           consulting work in the Caribbean from 2003 until

24           about 2006, up until when I won.

25                   Prior to that, I was president and chief
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                  JOHN P. D JONGH, JR. -- DIRECT                         26


1            operating officer of the Lockhart Companies,

2            which was a local real estate company that we

3            expanded into insurance.

4                    I did that until I ran for governor in

5            2002.   Prior to that, I was employed with Public

6            Financial Management out of Philadelphia.          But

7            when I came back to St. Thomas was after the

8            hurricane of 1995, which was Hurricane Marilyn.

9                    And once I did that they recruited me

10           back.   What I found attractive about that, quite

11           frankly, is that not only did I have the job in

12           something that was new, but I got stock within

13           the company.     I got a board seat, and they also

14           agreed to pay for my kids' tuition, 50 percent

15           of my kids' tuition at school.        So that was

16           attractive.

17                   And then prior to working -- before I

18           worked with Public Financial Management, I was

19           commissioner -- I worked for the governor of the

20           Virgin Islands then, Alexander Farrelly, as

21           executive assistant.      And before that I was

22           Chase Manhattan Bank.      I was commissioner of

23           finance, and then I worked at Chase Manhattan

24           Bank.

25                   Just before that I was in charge of all
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                  JOHN P. D JONGH, JR. -- DIRECT                         27


1            their consumer financing in the USVI, BVI and

2            St. Martin.

3            Q.     Focusing on the Chilmark work, you said you

4      worked with a friend.      Who is that friend?

5            A.     His name is -- was Desmond Skeete,

6      S-K-E-E-T-E.

7            Q.     And who else do you work with in the

8      Chilmark, the current version Chilmark?

9            A.     When you say work with, what do you mean?

10           Q.     Are there any associates with you in that

11     consulting company?

12           A.     No, sir.

13           Q.     It's just a sole operation?

14           A.     Correct.

15           Q.     So the only person who has been associated

16     with Chilmark was in the early iteration?

17           A.     That is correct.

18           Q.     What is your wife's name?

19           A.     Cecile Rene de Jongh.

20           Q.     And when did you meet?

21           A.     Now you're testing my knowledge.        We

22     met -- we met at Chase Manhattan Bank.         We met around

23     1984, '85.    '84.

24           Q.     When did you get married?

25           A.     November of 1986.      November 29th, 1986.
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                  JOHN P. D JONGH, JR. -- DIRECT                         80


1            A.     No.

2                   MS. BOGGS:    Objection to form.

3                   MR. TEAGUE:     Objection, form.

4                   THE WITNESS:     No, I did not.

5            Q.     (By Mr. O'Laughlin:) Were you ever

6      concerned about the fact that you may have been

7      getting campaign contributions from Epstein?

8                   MS. BOGGS:    Objection, form.

9                   THE WITNESS:     Was I concerned?     My

10           campaigns were in -- no, I was not.

11           2006, 2010, 2002 -- no.       And any

12           campaign contributions that were done

13           would have been within the legal limit

14           that's acceptable.

15           Q.     (By Mr. O'Laughlin:) What is the legal

16     limit?

17           A.     $1,000 per election cycle.

18           Q.     Did you ever become aware of USVI or other

19     politicians returning contributions they received from

20     Epstein?

21           A.     Yes.

22           Q.     Which instances are you aware of?

23           A.     Some local politicians, I believe,

24     returned some contributions.

25           Q.     Who?
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                  JOHN P. D JONGH, JR. -- DIRECT                     154


1            A.     No.

2            Q.     How do you know he had ownership interest?

3            A.     I was told that by Andrew Farkas.

4            Q.     When were you told that?

5            A.     In 2007.

6            Q.     Is the governor's office involved in

7      granting EDA benefits?

8            A.     It's involved -- it affirms the decision

9      of the EDA board that grants the benefits, yes.

10           Q.     And what is the process surrounding that?

11           A.     The process surrounding the governor's

12     involvement?

13           Q.     Yeah.

14           A.     The beneficiary will submit the

15     application to the Economic Development Authority,

16     which is then reviewed by their staff.         They will go

17     through the process, according to their rules and

18     regulations as to whether it fits under the

19     requirements.

20                     It will then be presented by the staff

21     to the board of the EDA, either with a recommendation

22     to approve or disapprove.

23                     The board will then make its

24     determination as to which way they're going.

25                     If it's approved, it is then sent up to
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                  JOHN P. D JONGH, JR. -- DIRECT                     155


1      governor's office and sent to legal counsel.          Legal

2      counsel does its review of it, and then at that

3      point, it will come to the governor for signature.

4      That was at least the process that we followed.

5            Q.     And so focusing on the portion that

6      involves the governor's office, what exactly does that

7      review entail?

8                   MR. TEAGUE:     Objection, asked and

9            answered.    You can answer it.

10                  THE WITNESS:     It involves their

11           basically reviewing the decision that

12           the board made to make sure they

13           complied with the Economic Development

14           Authority rules and regulations.

15           Q.     (By Mr. O'Laughlin:) And -- so they take

16     the regulations from the EDA and they look at the

17     application and they compare the two?

18           A.     The regulations are codified, our rules

19     and regs.    They would then look at the application,

20     review the application, and then make a

21     recommendation.

22           Q.     And the -- what is the thing they're

23     evaluating for?     Just compliance with the EDA regs?

24           A.     And to see how the board approved it,

25     right.     And the type of business activity that would
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                  JOHN P. D JONGH, JR. -- DIRECT                     156


1      be within the Virgin Islands.

2            Q.     And so they're evaluating the underlying

3      business activity of the beneficiary?

4            A.     As to whether they complied to the

5      sourcing rules of income, the number of individuals

6      that are employed in the V.I., making sure they fit

7      the rules and regulation, making sure that they were

8      comfortable.

9            Q.     And is there an analysis of the underlying

10     business of the beneficiary?

11                  MS. BOGGS:    Objection, form.

12                  THE WITNESS:     I'm going to presume

13           that there is.

14           Q.     (By Mr. O'Laughlin:) By the governor's

15     office?

16           A.     In terms of jobs, I think.       In terms of

17     jobs, business activity, yes.

18           Q.     What does that investigation look like?

19                  MS. BOGGS:    Objection.

20           Mischaracterization.      Form.

21                  THE WITNESS:     Just an analysis by

22           the board.

23                  MR. TEAGUE:     Objection.

24           Foundation as well.      You can answer.

25                  THE WITNESS:     Again, I'm not sure
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                    JOHN P. D JONGH, JR. -- DIRECT                    157


1              to what extent.    They may call the EDA

2              to find out more on the activity.

3              They'll look at the rules and

4              regulations.

5              Q.    (By Mr. O'Laughlin:)      And is a

6       recommendation made to you personally?

7              A.    It's made to me, yes.      Was made to me,

8       yes.

9              Q.    And then you review it?

10             A.    I review the cover memorandum, usually, of

11      what was provided to me by my legal counsel.          I may

12      get a little bit more into the activities and

13      understand the type of business it is.

14             Q.    What do you do to get a little more into

15      the underlying business?

16             A.    Just look if -- the overview would provide

17      the business, the type of activity.        I may or may not

18      look at the application just to understand if it was

19      an unusual business.

20             Q.    Would you ever reach out to the person who

21      is applying to ask them questions?

22             A.    No.

23             Q.    Would you look at the financial projections

24      that they submitted?

25             A.    No.
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                   JOHN P. D JONGH, JR. -- DIRECT                    158


1             Q.     Would you do any kind of diligence on the

2       business itself to see that they were doing what they

3       claimed to be doing?

4                    MS. BOGGS:    Objection, form.

5                    MR. TEAGUE:    Same objection.

6             Foundation as well.     You can answer.

7                    THE WITNESS:    I presume that by

8             the time it came to me after the

9             analysis done by EDA staff and the board

10            and my legal counsel, that that was less

11            of an issue.

12                   THE REPORTER:    I'm sorry, that

13            was --

14                   THE WITNESS:    Less of an issue.

15            Q.     (By Mr. O'Laughlin:)      So what is

16      specifically the thing that you are reviewing for?

17            A.     The legal opinion, making sure it is

18      consistent with the rules and regulations, looking at

19      the business activity, looking at the economic

20      development, diversification that was taking place in

21      the territory.

22            Q.     What do you mean by looking at the business

23      activity?

24            A.     If it was unusual.     One year, we had

25      someone that applied that wanted to do manufacturing.
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                   JOHN P. D JONGH, JR. -- DIRECT                    159


1       We don't have very many manufacturers in the Virgin

2       Islands, so I just looked at the application to make

3       sure I understood.

4                      Some were looking at foreign

5       destinations to sell their products.        I wanted to

6       see, you know, what percentage of their business

7       activity they were looking at.       Was it -- did they

8       consider the U.S. foreign or where are they selling?

9       So I would look at things like that.

10            Q.     What would you do if the business -- the

11      underlying business activity did strike you as

12      unusual?

13            A.     I would, then, more than likely not call

14      the individual.      I'd probably call my attorney and

15      ask him to look into it.

16            Q.     And they would go and report back to you?

17            A.     Correct.

18            Q.     Did you review Financial Trust's

19      application?

20            A.     Yes.

21            Q.     Did you review Southern Trust's

22      application?

23            A.     No.

24            Q.     Okay.   Did you find any of their activity

25      unusual?
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1             Q.     So the initial amount, the actual cost of

2       improvements was 181,000?

3             A.     No.   That was the value that the

4       government said I owed after the depreciated value

5       over eight years.

6             Q.     Okay.   And then the ultimate amount paid

7       was 381,000.    So they added 200,000 on to their

8       assessment of the value?

9             A.     That's correct.

10            Q.     Okay.   And of the 381,000, Epstein financed

11      200,000?

12            A.     He gave us a loan for 200,000.

13            Q.     What were the terms of the loan?

14            A.     That we had to pay it back -- we asked him

15      if we could have two years to pay it back.          He said,

16      no, a year.    So we paid it back early, mid '16, 2016,

17      and that was it.

18            Q.     Was there interest accrued on the loan?

19            A.     Yes, I don't recall the amount, but there

20      was interest on the loan.

21            Q.     Do you recall what the rate was?

22            A.     I do not.

23            Q.     How was the rate determined?

24            A.     I don't know.    I don't know how they

25      negotiated the rate.
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                   JOHN P. D JONGH, JR. -- DIRECT                    342


1             Q.     Did you ask the First Lady to relay this

2       information to Epstein?

3             A.     I must of.

4             Q.     Were you involved in any discussions of a

5       $50 million loan to the USVI government involving

6       Epstein?

7             A.     When you say "discussions," please -- what

8       do you mean by discussions?

9             Q.     What do you understand the word

10      "discussions" to mean?

11            A.     Discussions, but with whom?

12            Q.     Anyone.

13            A.     I wasn't in any discussions, no.

14            Q.     Did you have -- do you have any knowledge

15      of any $50 million loan to the USVI government?

16            A.     I was asked some questions, of which I

17      responded to those questions, yes.

18            Q.     What were the questions you were asked?

19            A.     Just if the government wanted to borrow,

20      could they.    Was there a revenue stream?       Could it be

21      collateralized?     But there was no discussions.       There

22      were just some questions.

23            Q.     Why were those questions coming to you?

24                   MS. BOGGS:    Objection,

25            speculation.     Lack of foundation.
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                    JOHN P. D JONGH, JR. -- DIRECT                   343


1                    THE WITNESS:    I'm presuming just

2             based on my knowledge of government.

3             Q.     (By Mr. O'Laughlin:)      But this was after

4       you were out of office, correct?

5             A.     I believe so.

6             Q.     Okay.   Who was asking the questions?

7             A.     I'm not sure if it came from Cecile.        I

8       think it may have come from Cecile.

9             Q.     Okay.   On behalf of Epstein?

10            A.     I presume so.

11            Q.     Okay.   Do you know the approximate date of

12      these questions being asked to you?

13            A.     No, I don't.

14                   MR. O'LAUGHLIN:     Let's enter tab

15            64.

16                   (Deposition Exhibit No. 50 was

17                    marked for identification.)

18            Q.     (By Mr. O'Laughlin:)      Exhibit 50.    This is

19      an email chain that starts February 5, 2017, and

20      Epstein writes to the First Lady, "The government

21      needs 40 to 50 million for year.        What does John think

22      would be the most viable collateral"?

23                   Do you see that?

24            A.     I do.

25            Q.     Do you know where the government's need for
